              Case 1:19-cv-02265 Document 1 Filed 07/30/19 Page 1 of 15



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 KEVIN ZOSIAK, individually and on behalf of                     Civil Action No. 19-2265
 all those similarly situated,

                            Plaintiffs,                         COMPLAINT and
                                                             DEMAND FOR JURY TRIAL
 v.

 CAPITAL ONE FINANCIAL
 CORPORATION, CAPITAL ONE, N.A., and
 CAPITAL ONE BANK (USA), N.A.,

                            Defendants.

       Plaintiff Kevin Zosiak (“Plaintiff”), individually and on behalf of all others similarly

situated, through the undersigned counsel, hereby alleges the following, against Defendants

Capital One Financial Corporation, Capital One, N.A., and Capital One Bank (USA), N.A.

(collectively, “Capital One” or “Defendants”). Based upon personal knowledge, information,

belief, and investigation of counsel, Plaintiff specifically alleges as follows:

                                   SUMMARY OF THE CASE

       1.      Plaintiff brings this action on behalf of a nationwide class against Defendants

because of their failure to protect the confidential information of millions of consumers and

small businesses – including financial information (e.g., bank account numbers, fragments of

transaction history, self-reported income, and credit scores), and/or personal information (e.g.,

Social Security Numbers, names, addresses, phone numbers, email addresses, and dates of birth)

(collectively, their “Sensitive Information”). Defendants’ wrongful disclosure has harmed

Plaintiff and the Class, believed to include approximately 106 million card customers and

applicants.
                 Case 1:19-cv-02265 Document 1 Filed 07/30/19 Page 2 of 15



                                   JURISDICTION AND VENUE

        2.        This Court has subject matter jurisdiction under the Class Action Fairness Act, 28

U.S.C. § 1332(d) in that: (1) this is a class action involving more than 1,000 class members; (2)

minimal diversity is present as Plaintiff is a citizen of Connecticut (and the proposed class

members are from various states), while Defendants are citizens of Virginia; and (3) the amount

in controversy exceeds the sum of $5,000,000, exclusive of interest and costs.

        3.        This Court has personal jurisdiction over Defendants because Defendants conduct

business in and throughout the District of Columbia, and the wrongful acts alleged in this

Complaint were committed in the District of Columbia, among other venues.

        4.        Venue is proper in this District pursuant to: (1) 28 U.S.C. § 1391(b)(2) in that a

substantial part of the events or omissions giving rise to Plaintiff’s claims occurred in this

District, and (2) 28 U.S.C. § 1391(b)(3) in that Defendants are subject to personal jurisdiction in

this District.

                                               PARTIES

        5.        Plaintiff Kevin Zosiak is an individual residing in Stamford, Connecticut, who has

been a credit card customer for Capital One and whose Sensitive Information, on information

and belief, was compromised in the Data Breach described herein.

        6.        Defendant Capital One Financial Corporation is a Delaware corporation with its

principal place of business in McLean, Virginia.

        7.        Defendant Capital One, N.A., is a national bank with its principal place of

business in McLean, Virginia. Defendant Capital One, N.A. is a wholly-owned subsidiary of

Capital One Financial Corporation.




                                                    2
               Case 1:19-cv-02265 Document 1 Filed 07/30/19 Page 3 of 15



        8.       Defendant Capital One Bank (USA), N.A., is a national bank with its principal

place of business in McLean, Virginia. Defendant Capital One Bank (USA), N.A. is a wholly-

owned subsidiary of Capital One Financial Corporation.

                                     FACTUAL BACKGROUND

        9.       Defendant Capital One Financial Corporation, through its subsidiaries, including

Defendants Capital One, N.A., and Capital One Bank (USA), N.A., is one of the largest credit-

card issuers in the United States, and one of the top 10 largest banks based on deposits, serving

approximately 45 million customer accounts.

        10.      On July 29, Capital One publicly announced the following:

                 [O]n July 19, 2019, it determined there was unauthorized access by
                 an outside individual who obtained certain types of personal
                 information relating to people who had applied for its credit card
                 products and to Capital One credit card customers . . . . Based on our
                 analysis to date, this event affected approximately 100 million
                 individuals in the United States and approximately 6 million in
                 Canada.
                 ...
                 The largest category of information accessed was information on
                 consumers and small businesses as of the time they applied for one
                 of our credit card products from 2005 through early 2019.1

        11.      Capital One further disclosed that the breached Sensitive Information included:

              a. Personal information, including names, addresses, zip codes/postal codes, phone

                 numbers, email addresses, dates of birth, and self reported income;

              b. Customer status data, e.g., credit scores, credit limits, balances, payment history,

                 contact information;




1
  Capital One Announces Data Security Incident, Capital One, http://phx.corporate-
ir.net/phoenix.zhtml?c=70667&p=irol-newsArticle_Print&ID=2405042 (emphasis added).(last accessed July 29,
2019).

                                                     3
              Case 1:19-cv-02265 Document 1 Filed 07/30/19 Page 4 of 15



             c. Fragments of transactional data from a total of 23 days during 2016, 2017, and

                2018;

             d. About 140,000 Social Security numbers of its credit card customers; and

             e. About 80,000 linked bank account numbers of its secured credit card customers.

       12.      The Data Breach that had occurred on March 22 and 23, 2019, was discovered by

Defendants only in July 19, 2019 and publicly disclosed on July 29, 2019, over four months after

the Sensitive Information of over 100 million customers and credit card applicants were

breached. Defendants apparently continued to allow the hacker to intrude their systems at least

until April 21, 2019.

       13.      Defendants only discovered the Data Breach after an individual previously

unknown to Capital One sent the following email to Capital One providing a link to a file

containing the leaked Sensitive Information. The file provided in the link, which was

timestamped April 21, 2019, also contained code for commands used in the intrusion, as well as

a list of more than 700 folders or buckets of data.




       14.      Defendants had obligations, arising from promises made to its credit card

applicants and customers like Plaintiff and other Class Members, and based on industry

standards, to keep the Sensitive Information confidential and to protect it from unauthorized


                                                 4
               Case 1:19-cv-02265 Document 1 Filed 07/30/19 Page 5 of 15



disclosures. Class Members provided their Sensitive Information to Capital One with the

understanding that Capital One and any business partners to whom Capital One disclosed the

Sensitive Information would comply with their obligations to keep such information confidential

and secure from unauthorized disclosures.

        15.      Capital One promises customers that it will keep their Sensitive Information

confidential, assuring customers on its credit card applications explicitly that “Capital One uses

256-bit Secure Sockets Layer (SSL) technology. This means that when you are on our website,

the data transferred between Capital One and you is encrypted and cannot be viewed by any

other party.”2

        16.      Defendants’ security failures demonstrate that they failed to honor their duties and

promises by not:

              a. maintaining an adequate data security system to reduce the risk of data breaches

                 and cyber-attacks;

              b. adequately monitoring its system to identify the data breaches and cyber-attacks;

                 and

              c. adequately protecting Plaintiff’s and the Class’s Sensitive Information.

        17.      Plaintiff and other Class Members have been injured by the disclosure of their

Sensitive Information in the Data Breach.

        18.      Defendants’ data security obligations and promises were particularly important

given the substantial increase in data breaches, which were widely known to the public and to

anyone in Defendants’ industries.




2
 See e.g., Application for Venture Credit Card, https://applynow.capitalone.com/?productId=6691 (last visited July
29, 2019) (emphasis added).

                                                        5
              Case 1:19-cv-02265 Document 1 Filed 07/30/19 Page 6 of 15



        19.      Defendants had ample warnings of weaknesses and risks to its systems, as they

have had multiple security breaches in the past. On or about January 2018, Capital One suffered

a data breach that compromised 50GB worth of sensitive data that contained highly sensitive

information that put Capital One’s network at significant risk. In addition, Defendants have

issued formal letters to an undisclosed number of their customers informing that their personal

information may have been breached, in numerous other occasions including the letters issued on

or about November 2014, July 28, 2017, July 31, 2017, and September 12, 2017.

        20.      The United States Government Accountability Office noted in a June 2007 report

on Data Breaches (“GAO Report”) that identity thieves use identifying data such as Social

Security Numbers to open financial accounts, receive government benefits and incur charges and

credit in a person’s name.3 As the GAO Report states, this type of identity theft is the most

harmful because it often takes some time for the victim to become aware of the theft, and the

theft can impact the victim’s credit rating adversely.

        21.      In addition, the GAO Report states that victims of identity theft will face

“substantial costs and inconveniences repairing damage to their credit records” and their “good

name.”4

        22.      Identity theft victims frequently are required to spend many hours and large

amounts of money repairing the impact to their credit. Identity thieves use stolen personal

information such as social security numbers (“SSNs”) for a variety of crimes, including credit

card fraud, phone or utilities fraud, and/or bank/finance fraud.




3
  See U.S. Gov’t Accountability Off., GAO-07-737, Personal Information: Data Breaches Are Frequent, but
Evidence of Resulting Identity Theft is Limited; However, the Full Extent Is Unknown (2007).
4
  Id., at 2, 9.

                                                      6
              Case 1:19-cv-02265 Document 1 Filed 07/30/19 Page 7 of 15



        23.      There may be a time lag between when Sensitive Information is stolen and when

it is used. According to the GAO Report:


                 [L]aw enforcement officials told us that in some cases, stolen data
                 may be held for up to a year or more before being used to commit
                 identity theft. Further, once stolen data have been sold or posted on
                 the Web, fraudulent use of that information may continue for years.
                 As a result, studies that attempt to measure the harm resulting from
                 data breaches cannot necessarily rule out all future harm.5

        24.      With access to an individual’s Sensitive Information, criminals can do more than

just empty a victim’s bank account—they can also commit all manner of fraud, including:

obtaining a driver’s license or official identification card in the victim’s name but with the thief’s

picture; using the victim’s name and SSN to obtain government benefits; or, filing a fraudulent

tax return using the victim’s information. In addition, identity thieves may obtain a job using the

victim’s SSN, rent a house, or receive medical services in the victim’s name. Identity thieves

may even give the victim’s personal information to police during an arrest, resulting in an arrest

warrant being issued in the victim’s name.6

        25.      Sensitive Information is such a valuable commodity to identity thieves that once

the information has been compromised, criminals often trade the information on the “cyber

black-market” for years. As a result of recent large-scale data breaches, identity thieves and

cyber- criminals have openly posted stolen credit card numbers, SSNs, and other Sensitive

Information directly on various Internet websites making the information publicly available.




5
 Id., at 29 (emphasis added).
6
 See Warning Signs of Identity Theft, Federal Trade Commissions, https://www.identitytheft.gov/Warning-Signs-of-
Identity-Theft (last accessed July 29, 2019).

                                                       7
                Case 1:19-cv-02265 Document 1 Filed 07/30/19 Page 8 of 15



         26.        Indeed, data breaches and identity theft have a crippling effect on individuals and

detrimentally impact the entire economy as a whole. Financial databases are especially valuable

to identity thieves.

                                        CLASS ALLEGATIONS

         27.        In accordance with Federal Rules of Civil Procedure 23(b)(2) and (b)(3), Plaintiff

brings this case as a class action on behalf of a Class defined as follows:

                    All persons in the United States whose Sensitive Information was
                    maintained on the servers of Capital One and the cloud computing
                    company used by Capital One that were compromised as a result of
                    the breach announced by Capital One on or around July 29, 2019.

         28.        The Class is so numerous that joinder of all members is impracticable. On

information and belief, the Class has more than 106 million members. Moreover, the disposition

of the claims of the Class in a single action will provide substantial benefits to all parties and the

Court.

         29.        There are numerous questions of law and fact common to Plaintiff and Class

Members. These common questions of law and fact include, but are not limited to, the following:

               a. Whether Defendants’ data security systems prior to the Data Breach complied

                    with all applicable legal requirements;

               b.   Whether Defendants’ data security systems prior to the Data Breach met industry

                    standards;

               c.   Whether Plaintiff’s and other Class members’ Sensitive Information was

                    compromised in the Data Breach; and

               d.   Whether Plaintiff’s and other Class members are entitled to damages as a result

                    of Defendant’s conduct.




                                                     8
             Case 1:19-cv-02265 Document 1 Filed 07/30/19 Page 9 of 15



       30.     Plaintiff’s claims are typical of the claims of the Class’s claims. Plaintiff suffered

the same injury as Class Members – i.e. upon information and belief, Plaintiff’s Sensitive

information was compromised in the Data Breach.

       31.     Plaintiff will fairly and adequately protect the interests of the Class. Plaintiff has

retained competent and capable attorneys with significant experience in complex and class action

litigation, including data breach class actions. Plaintiff and his counsel are committed to

prosecuting this action vigorously on behalf of the Class and have the financial resources to do

so. Neither Plaintiff nor his counsel have interests that are contrary to or that conflict with those

of the proposed Class.

       32.     Defendants have engaged in a common course of conduct toward Plaintiff and

other Class Members. The common issues arising from this conduct that affect Plaintiff and

Class Members predominate over any individual issues. Adjudication of these common issues in

a single action has important and desirable advantages of judicial economy.

       33.      A class action is the superior method for the fair and efficient adjudication of this

controversy. Class Members’ interests in individually controlling the prosecution of separate

actions are low given the magnitude, burden, and expense of individual prosecutions against

large corporations such as Defendants. It is desirable to concentrate this litigation in this forum to

avoid burdening the courts with individual lawsuits. Individualized litigation presents a potential

for inconsistent or contradictory judgments, and also increases the delay and expense to all

parties and the court system presented by the legal and factual issues of this case. By contrast,

the class action procedure here will have no management difficulties. Defendants’ records and

the records available publicly will easily identify the Class Members. The same common

documents and testimony will be used to prove Plaintiff’s claims.



                                                  9
              Case 1:19-cv-02265 Document 1 Filed 07/30/19 Page 10 of 15



       34.      A class action is appropriate under Fed. R. Civ. P. 23(b)(2) because Defendants

have acted or refused to act on grounds that apply generally to Class Members, so that final

injunctive relief or corresponding declaratory relief is appropriate as to all Class Members.


                                          FIRST COUNT
                                            Negligence

       35.      Plaintiff realleges and incorporates by reference all preceding factual allegations.

       36.      Capital One required Plaintiff and Class Members to submit non-public Sensitive

Information to apply for a credit card.

       37.      By collecting and storing this data, and sharing it and using it for commercial

gain, Defendants had a duty of care to use reasonable means to secure and safeguard this

Sensitive Information, to prevent disclosure of the information, and to guard the information

from theft.

       38.      Defendants’ duty included a responsibility to implement a process by which they

could detect a breach of their security systems in a reasonably expeditious period of time and

give prompt notice to those affected in the case of a data breach.

       39.      Defendants also owed a duty of care to Plaintiff and members of the Class to

provide security consistent with industry standards and the other requirements discussed herein,

and to ensure that their systems and networks—and the personnel responsible for them

adequately protected their potential customers’ and customers’ Sensitive Information.

       40.      Only Defendants were in a position to ensure that their systems were sufficient to

protect against the harm to Plaintiff and the members of the Class from a data breach.

       41.      Defendants breached their duty by failing to use reasonable measures to protect

Plaintiff’s and Class Members’ Sensitive Information.



                                                 10
             Case 1:19-cv-02265 Document 1 Filed 07/30/19 Page 11 of 15



       42.      The specific negligent acts and omissions committed by Defendants include, but

are not limited to, the following:

             a. failing to adopt, implement, and maintain adequate security measures to safeguard

                Plaintiff’s and Class Members’ Sensitive Information;

             b. failing to adequately monitor the security of their networks and systems;

             c. allowing unauthorized access to Plaintiff’s and Class Members’ Sensitive

                Information; and

             d. failing to recognize in a timely manner that Plaintiff’s and other Class Members’

                Sensitive Information had been compromised.

       43.      It was foreseeable that Defendants’ failure to use reasonable measures to protect

and monitor the security of Sensitive Information would result in injury to Plaintiff and other

Class Members. Further, the breach of security, unauthorized access, and resulting injury to

Plaintiff and the members of the Class were reasonably foreseeable.

       44.      It was therefore foreseeable that the failure to adequately safeguard Sensitive

Information would result in one or more of the following injuries to Plaintiff and the members of

the proposed Class: ongoing, imminent, certainly impending threat of identity theft crimes, fraud,

and abuse, resulting in monetary loss and economic harm; actual identity theft crimes, fraud, and

abuse, resulting in monetary loss and economic harm; loss of the confidentiality of the stolen

confidential data; the illegal sale of the compromised data on the deep web black market;

expenses and/or time spent on credit monitoring and identity theft insurance; time spent

scrutinizing bank statements, credit card statements, and credit reports; expenses and/or time

spent initiating fraud alerts; decreased credit scores and ratings; lost work time; and other

economic and non-economic harm.



                                                 11
              Case 1:19-cv-02265 Document 1 Filed 07/30/19 Page 12 of 15



        45.     Accordingly, Plaintiff, individually and on behalf of all those similarly situated,

seeks an order declaring that Defendants’ conduct constitutes negligence and awarding damages

in an amount to be determined at trial.

                                          SECOND COUNT
                                          Negligence Per Se

        46.     Plaintiff realleges and incorporates by reference all preceding paragraphs as if

fully set forth herein.

        47.     Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, prohibits

“unfair . . . practices in or affecting commerce” including, as interpreted and enforced by the

Federal Trade Commission (“FTC”), the unfair act or practice by companies such as Capital One

of failing to use reasonable measures to protect Personal Information. Various FTC publications

and orders also form the basis of Capital One’s duty.

        48.     Capital One violated Section 5 of the FTC Act (and similar state statutes) by

failing to use reasonable measures to protect Personal Information and not complying with

industry standards.

        49.     Capital One’s violation of Section 5 of the FTC Act (and similar state statutes)

constitutes negligence per se.

        50.     Class members are consumers within the class of persons Section 5 of the FTC

Act (and similar state statutes) was intended to protect.

        51.     Moreover, the harm that has occurred is the type of harm the FTC Act (and

similar state statutes) was intended to guard against. Indeed, the FTC has pursued over fifty

enforcement actions against businesses which, as a result of their failure to employ reasonable

data security measures and avoid unfair and deceptive practices, caused the same harm suffered

by Plaintiff and the Class.

                                                 12
              Case 1:19-cv-02265 Document 1 Filed 07/30/19 Page 13 of 15



        52.     As a direct and proximate result of Capital One’s negligence, Plaintiff and Class

members have been injured and are entitled to damages, including compensatory, punitive, and

nominal damages, in an amount to be proven at trial.


                                        THIRD COUNT
                                   Breach of Implied Contract

        53.     Plaintiff realleges and incorporates by reference all preceding paragraphs as if

fully set forth herein.

        54.     When Plaintiff and Class members paid money and provided their Sensitive

Information to Defendants in exchange for services, they entered into implied contracts with

Defendants pursuant to which Defendants agreed to safeguard and protect such information and

to timely and accurately notify them if their data had been breached and compromised.

        55.     Defendants solicited and invited prospective clients and other consumers to

provide their Sensitive Information as part of its regular business practices. These individuals

accepted Defendants’ offers and provided their Sensitive Information to Defendants. In entering

into such implied contracts, Plaintiff and the Class assumed that Defendants’ data security

practices and policies were reasonable and consistent with industry standards, and that

Defendants would use part of the funds received from Plaintiff and the Class to pay for adequate

and reasonable data security practices.

        56.     Plaintiff and the Class would not have provided and entrusted their Sensitive

Information to Defendants in the absence of the implied contract between them and Defendants

to keep the information secure.

        57.     Plaintiff and the Class fully performed their obligations under the implied

contracts with Defendants.



                                                 13
             Case 1:19-cv-02265 Document 1 Filed 07/30/19 Page 14 of 15



       58.       Defendants breached their implied contracts with Plaintiff and the Class by failing

to safeguard and protect their Sensitive Information and by failing to provide timely and accurate

notice that their personal information was compromised as a result of a data breach.

       59.       As a direct and proximate result of Defendants’ breaches of their implied

contracts, Plaintiff and the Class sustained actual losses and damages as described herein.



       WHEREFORE, Plaintiff and Class Members demand judgment as follows:

       A.        Certification of the action as a Class Action pursuant to Federal Rule of Civil

Procedure 23, and appointment of Plaintiff as Class Representative and his counsel of record as

Class Counsel;

       B.        That acts alleged herein be adjudged and decreed to constitute negligence and

amount to violations of the consumer protection laws of Connecticut, and other states;

       C.        Judgment against Defendants for the damages sustained by Plaintiff and the Class

defined herein, and for any additional damages, penalties, and other monetary relief provided by

applicable law;

       D.        By awarding Plaintiff and Class Members pre-judgment and post-judgment

interest as provided by law, and that such interest be awarded at the highest legal rate from and

after the date of service of the Complaint in this action;

       E.        The costs of this suit, including reasonable attorney fees; and

       F.        Such other and further relief as the Court deems just and proper.

                                    JURY TRIAL DEMANDED

       Plaintiff, individually and on behalf of all those similarly situated, hereby requests a jury

trial, pursuant to Federal Rule of Civil Procedure 38, on any and all claims so triable.



                                                  14
           Case 1:19-cv-02265 Document 1 Filed 07/30/19 Page 15 of 15



Dated: July 30, 2019                 Respectfully submitted,

                                     /s/ Linda P. Nussbaum               .
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                                       15
